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CERTIFICATE OF SERVICE

I, William D. Sullivan, do hereby certify I am not less than 18 years of age and that on
this 29" day of December 2008, I caused copies of the within Opposition to be served upon the
those listed below via First Class U.S. Mail, postage prepaid and upon all other parties-in-interest
who have agreed to accept electronic services in this case by electronic notification.

Bryan Krakauer, Esq.
Kenneth P. Kansa, Esq.
Sidley, Austin LLP

One South Dearborn Street
Chicago, IL 60603

Norman L. Pernick, Esq.

Cole, Schotz, Meisel

1000 N. West Street, Suite 1200
Wilmington, DE 19801

Stephanie Pater

Tribune Company

435 N. Michigan Avenue
Chicago, IL 60611

Adam G. Landis

Landis Rath & Cobb LLP
919 Market Street

Suite 1800

Wilmington, DE 19801

Peter Meier, Esq.

Vice President and General Counsel
Pepco Energy Services, Inc.

1300 North 17" Street

Arlington, VA 22209

Under penalty of perjury, I declare the foregoing to be true and correct.

/s/__ William D. Sullivan
William D. Sullivan

